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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                         Plaintiff,

v.                                                                      Case No. 11-20052
                                                                        Honorable Denise Page Hood

VISHNU PRADEEP MEDA (D-2),

                         Defendant.

                                                       /

     ORDER DENYING DEFENDANT’S MOTION TO DISMISS INDICTMENT UNDER
            DOUBLE JEOPARDY CLAUSE OF THE FIFTH AMENDMENT

I.        BACKGROUND

          On February 17, 2011, the grand jury returned an indictment against defendants Mehran

Javidan, Vishnu Pradeep Meda, and Ram Naresh Rajulapati. The indictment alleges that Acure

Home Care, Inc. was a home health care agency providing in-home physical therapy and other

services to Medicare beneficiaries. Acure was owned and controlled by Javidan. Meda was a

physical therapist at Acure. Meda is charged with one count of conspiracy to commit health care

fraud, 18 U.S.C. § 1349, and one count of health care fraud, 18 U.S.C. § 1347. [Indictment, Docket

No. 3].

          Meda was also involved in the related matter of United States v. Shahab, et al., Case No. 10-

20014. There he was charged with one count of health care conspiracy in violation of 18 U.S.C. §

1349. After a jury trial, a judgment of acquittal was entered for Meda on October 26, 2012.

[Judgment of Acquittal, Case No. 10-20014, Dkt No. 503].
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       This matter comes before the Court on Meda’s Motion to Dismiss Indictment under Double

Jeopardy Clause of the Fifth Amendment. For the reasons stated below, the Motion to Dismiss

Indictment is DENIED.

II.    ANALYSIS

       A.      Double Jeopardy

       Meda argues that double jeopardy attaches to Meda’s acquittal in United States v. Shahab,

et al., Case No. 10-20014.1 The Double Jeopardy clause of the Fifth Amendment provides that no

person shall “be subject for the same offence to be twice put in jeopardy of life or limb . . . .” U.S.

CONST. amend. V. Specifically, the Double Jeopardy Clause provides three separate guarantees: (1)

protection against re-prosecution for the same offense after acquittal; (2) protection against re-

prosecution for the same offense after conviction; and (3) protection against multiple punishments

for the same offense. North Carolina v. Pearce, 395 U.S. 711, 717 (1969), overruled on other

grounds by Alabama v. Smith, 490 U.S. 794 (1989). The prohibition against re-prosecution after

acquittal “ensures that the State does not make repeated attempts to convict . . . , thereby exposing

[an individual] to continued embarrassment, anxiety, and expense, while increasing the risk of an

erroneous conviction or an impermissibility enhanced sentence.” Ohio v. Johnson, 467 U.S. 493,

498–99 (1984).

       In Blockburger v. United States, the Supreme Court provided in the “same elements” test,

which provides that “the same act or transaction constitutes a violation of two distinct statutory


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          In Shahab, Meda was charged with one count of Health Care Fraud Conspiracy in
violation of 18 U.S.C. § 1349. [Third Superseding Indictment, Docket No. 451] In this matter,
Meda is also charged with Health Care Fraud Conspiracy, in addition to four counts of Health
Care Fraud, 18 U.S.C. § 1347 and 2, and four counts of False Statements, 18 U.S.C. § 1035 and
2. [First Superseding Indictment, Docket No. 52].

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provisions, the test to be applied to determine whether there are two offenses or only one, is whether

each provision requires proof of a fact which the other does not.” 284 U.S. 299, 304 (1932).

However, in a conspiracy case, the question of whether the Government may prosecute Meda for

conspiracy in separate indictments turns on whether there was more than one conspiracy. United

States v. Sinito, 723 F.2d 1250, 1256 (6th Cir. 1983). The Sixth Circuit employs a totality of the

circumstances test.    The trial court must consider (1) the time, (2) the people acting as

coconspirators, (3) the statutory offenses charged in the indictment, (4) the overt act charged, and

(5) the places where the conspiracy allegedly took place. Id. When the inquiry yields several

differences between the factors, the Court may safely conclude that there are two separate

conspiracies. Id. at 1256–57.

       The Government argues that there are two distinct conspiracies. Meda maintains that the

current and Shahab cases were part of one conspiracy. He notes that “the commonality of time

period, employees, and patients establishes that any alleged health care fraud scheme involving

Acure, was simply part of the alleged scheme involving Patient Choice and All American.” He

further asserts that the Government intends to use the same evidence in Shahab to convict him in

this matter. [Docket No. 51, Pg ID 163] The Court finds that there were two separate conspiracies.

       The time factor does not weigh in favor of dismissal. The Shahab conspiracy began in

September 2007 and ended in September 2009, after the execution of search warrants at Patient

Choice and All American. The present alleged conspiracy did not begin until March 2009 and ended

in November 2010. There was only an overlap of six months. Meda stopped receiving checks from

Patient Choice and All American in September 2009. His first check for Acure was in August 2009,

an overlap of only two months. He continued to receive checks from Acure until January 2010,


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several months after the conspiracy at Patient Choice and All American ended. Although there is

some overlap, it is minimal and does not demonstrate the existence of one conspiracy. See Sinito,

723 F.2d at 1257 (“An overlap of ten months is not indicative of one conspiracy.”).

       The second factor, similarities between those acting as coconspirators, does not support

dismissal of the indictment. Meda contends that there are a significant number of common indicted

and unindicted coconspirators. Shahab and Meda appear to be the only persons in common.

Shahab’s role at Acure appears to be as an investor. It is not apparent at this time that he ran the

day-to-day operations at Acure. Rather, it is alleged it was Mehran Javidan and not Shahab that

controlled Acure’s day-to-day operations. Shahab controlled the day-to-day operations at Patient

Choice and All American. Javidan disassociated herself with Shahab in September 2009 after the

warrant was executed and the alleged conspiracy at Acure continued until November 2010, more

than a year after Javidan disassociated with Shahab. Although this factor alone is not dispositive,

Meda is the only person named in both indictments. See Sinito, 732 F.2d at 1257–58 (finding that

second factor did not weigh in favor of one conspiracy when the indictment in dispute “involve[d]

a host of figures” that were unmentioned in the previous indictment.)

       As to the third factor, statutory offenses charged, Meda was charged with conspiracy to

commit health care fraud in both indictments. This factor, necessarily, weighs in favor of dismissal.

       The fourth factor, overt acts, leans toward a finding of two distinct conspiracies. The

indictment in the present matter indicates that the overt act charged is billing false claims to

Medicare under the Acure provider number. The overt act charged in Shahab was the billing of

false claims under the Patient Choice and All American Medicare provider numbers. Although the

purpose and means of advancing both conspiracies were the same, it was the separate overt acts of


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billing under the Medicare provider number for Acure or Patient Choice and All American that

precipitated the indictments.

       The final factor, physical location, maybe viewed as indicative of one conspiracy. All three

physical therapy agencies resided in Greenfield Plaza in Oak Park, Michigan. Acure did not relocate

until January 2010.

       In considering all five factors, it would appear that there were two conspiracies. The fact that

there was minimal overlap in time and individuals involved, coupled with different overt acts leads

the Court to the conclusion that there were two separate and distinct conspiracies. The Court finds

that the present indictment poses no double jeopardy violation.

       B.      Collateral Estoppel

       Meda contends, in the alternative, that collateral estoppel bars the Government from

introducing evidence introduced in the Shahab case in this matter. He asserts that evidence of his

participation in home health care fraud at Patient Choice and All American was introduced to show

that he was part of a health care fraud conspiracy and the issue was decided when the jury acquitted

him. In response, the Government argues that collateral estoppel would not attach if the Court found

that there were two separate conspiracies because there is no evidence that the jury considered and

actually determined facts at issue in this case: (1) whether Meda conspired with Javidan, (2) whether

he aided and abetted in the submission of fraudulent information for Acure; and (3) whether Meda

made false statements on health care matters for Acure.

       “[W]here the prosecution seeks to relitigate issues decided in the defendant[‘s] favor in a

prior criminal trial, both collateral estoppel and the fifth amendment double jeopardy clause prohibit

the prosecution of the defendant for offenses arising out of the same transaction involved in the first


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trial.” United States v. Johnson, 697 F.2d 735, 739 (6th Cir. 1983) (citing Ashe v. Swenson, 397

U.S. 436 (1970)). If an issue of fact that was determined in the first trial is necessary to convict in

the second trial, the prosecution is barred. United States v. Benton, 852 F.2d 1456, 1466 (6th Cir.

1988). The movant has the burden of proving “by convincing and competent evidence that the fact

sought to be foreclosed was necessarily determined by the jury against the government in the prior

trial.” Id..

        It is apparent that Meda has not met his burden. He argues that the prior jury found that he

did not participate in Medicare fraud or falsify documents for submission to Medicare. The jury

made these determinations as to Patient Choice and All American. The Court did not allow the

Government to present evidence as to Acure. The jury did not determine whether Meda had

participated in health care fraud or a conspiracy to commit health care fraud, or falsified medical

information as to Acure. The only issue before the jury in the prior trial was whether Meda joined

in the conspiracy to commit health care fraud at Patient Choice and All American. Meda presents

no evidence that would lead to a contrary conclusion. The Court finds that Meda has not satisfied

his burden that collateral estoppel should bar the indictment in this matter.

III.    CONCLUSION

        Accordingly

        IT IS ORDERED that Defendant’s Motion to Dismiss the Indictment under Double

Jeopardy Clause of the Fifth Amendment [Docket No. 51, filed December 5, 2012] is DENIED.

                                                  S/Denise Page Hood
                                                  Denise Page Hood
                                                  United States District Judge

        Dated: February 1, 2013


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       I hereby certify that a copy of the foregoing document was served upon counsel of record
on February 1, 2013, by electronic and/or ordinary mail.

                                            S/LaShawn R. Saulsberry
                                            Case Manager




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